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 6 Attorney for Defendant

 7 GAL YIFRACH

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:22-CR-00046 WBS

12                                Plaintiff,             STIPULATION CONTINUING STATUS
                                                         CONFERENCE TO SEPTEMBER 9, 2024, AT 9:00
13                          v.                           A.M. AND FOR EXCLUDABLE TIME PERIODS
                                                         UNDER SPEEDY TRIAL ACT AND ORDER
14   GAL YIFRACH, et al.,

15                                Defendants.

16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

19 through their counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for a status conference before this Court on

21 June 24, 2024.

22          2.      By this stipulation, the defendants now move to continue this status conference and set a

23 status conference for September 9, 2024, and to exclude time between June 24, 2024, and September 9,

24 2024 under Local Code T4.

25          3.      The parties agree and stipulate, and request that the Court find the following:

26                  a)     The government has produced 142,689 pages of numbered discovery to

27          defendants, which includes copies of documents and recordings; and, the government has

28          provided additional materials for production in discovery consisting of a number of electronic

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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          devices seized including phones, laptops and various external storage devices, as well as email

 2          accounts.

 3                 b)      Counsel for each defendant desires additional time to familiarize themselves with

 4          the case and review the voluminous discovery, discuss the case with their respective clients and

 5          the attorney for the United States, and otherwise prepare for trial, which includes consulting with

 6          one or more forensic experts, including a forensic accountant.

 7                 c)      Counsel for the defendants believes that failure to grant the above-requested

 8          continuance would deny them the reasonable time necessary for effective preparation, taking into

 9          account the exercise of due diligence; and, their respective litigation commitments.

10                 d)      The government does not object to the continuance.

11                 e)      Based on the above-stated findings, the ends of justice served by continuing the

12          case as requested outweigh the interest of the public and the defendants in a trial within the

13          original date prescribed by the Speedy Trial Act.

14                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15          et seq., within which trial must commence, the time period of June 24, 2024, to September 9,

16          2024, at 9:00 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv)

17          [Local Code T4] because it results from a continuance granted by the Court at the defendants’

18          request on the basis of the Court’s finding that the ends of justice served by taking such action

19          outweigh the best interest of the public and the defendants in a speedy trial.

20          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

21 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

22 must commence.

23          IT IS SO STIPULATED.

24 Dated: June 10, 2024                                    PHILLIP A. TALBERT
                                                           United States Attorney
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26                                                         /s/ ROGER YANG
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                                                           ROGER YANG
 1                                                         Assistant United States Attorney
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 4          IT IS SO STIPULATED BY ALL DEFENDANTS.
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     Dated: June 10, 2024                                  /s/ DAVID W. DRATMAN
 6                                                         DAVID W. DRATMAN
                                                           Counsel for Defendant GAL YIFRACH
 7

 8   Dated: June 10, 2024                                  /s/ MALCOLM S. SEGAL
                                                            MALCOLM S. SEGAL
 9                                                          Counsel for Defendant
10                                                          SCHNEUR ZALMAN GETZEL ROSENFELD

11
     Dated: June 10, 2024                                  /s/ DAVID E. KENNER
12                                                          DAVID E. KENNER
                                                            Counsel for Defendant
13                                                          SHALOM IFRACH
14

15   Dated: June 10, 2024                                  /s/ VICTOR SHERMAN
                                                            VICTOR SHERMAN
16                                                          Counsel for Defendant
                                                            NICK SHKOLNIK
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18
                                                     ORDER
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             The request to continue the June 24, 2024 status conference is DENIED. At that conference,
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     counsel shall be prepared to discuss whether the case as against defendant Rosenfeld will go forward on
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     the Superseding Information filed March 19, 2024, or a second superseding information as discussed at
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     the hearing on April 1, 2024, or on the original Indictment.
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            Dated: June 11, 2024
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30    PERIODS UNDER SPEEDY TRIAL ACT
